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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

NETLIST, INC.,

                       Plaintiff,
                                                     Civil Action No. 1:22-cv-00134-DII
v.
                                                     JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC., MICRON
SEMICONDUCTOR PRODUCTS, INC., and
MICRON TECHNOLOGY TEXAS LLC,

                       Defendants.


NETLIST, INC.,

                       Plaintiff,                    Civil Action No. 1:22-cv-00136-DII
v.                                                   JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC., MICRON
SEMICONDUCTOR PRODUCTS, INC., and
MICRON TECHNOLOGY TEXAS LLC,

                       Defendants.



                                     JOINT STATUS REPORT

          Pursuant to this Court’s Order dated October 5, 2022 (Dkt. 79), Plaintiff Netlist, Inc.

(“Plaintiff”) and Micron Technology, Inc., Micron Semiconductor Products, Inc., and Micron

Technology Texas LLC (collectively, “Defendants”) hereby submit the following joint status

report regarding pending inter partes review proceedings relating to the Patents-in-Suit:

     I.   U.S. PATENT NO. 9,824,035 (PTAB CASE NO. IPR2022-00236)
          (FINAL WRITTEN DECISION ISSUED)

             − On December 23, 2021, Defendants filed a Petition for Inter Partes Review of
               U.S. Patent No. 9,824,035.

             − On July 19, 2022, the Board granted the Petition and trial was instituted.

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            − On October 11, 2022, Plaintiff submitted its Patent Owner’s Response.

            − On January 17, 2023, Defendants submitted their Reply to Patent Owner’s
              Response.

            − On February 28, 2023, Plaintiff submitted its Sur-Reply to Defendants Reply to
              Patent Owner’s Response.

            − On April 19, 2023, an Oral Argument for the proceeding commenced.

            − On June 20, 2023, the Board issued its Final Written Decision affirming validity
              of claims 2, 6, and 22, and finding claims 1, 10-13, and 21 invalid.

            − On July 20, 2023, Defendants filed a request for rehearing and on August 16,
              2023, the Board granted the request and found claim 22 invalid. Following the
              rehearing, the validity of claims 2 and 6 was confirmed, and claims 1, 10-13, 21,
              and 22 were held invalid.

 II.   U.S. PATENT NO. 10,268,608

       A.      DEFENDANTS’ IPR (PTAB CASE NO. IPR2022-00237)
               (INSTITUTION DENIED)

            − On December 23, 2021, Defendants filed a Petition for Inter Partes Review of
              U.S. Patent No. 10,268,608.

            − On July 19, 2022, the Board denied the Petition, and no trial was instituted.

            − On August 12, 2022, the Defendants filed a request for rehearing and on
              September 16, 2022, the Board denied the request.

       B.      SAMSUNG’S IPR (PTAB CASE NO. IPR2023-00847)

            − On April 27, 2023, Samsung Electronics Co., Ltd. filed a Petition for Inter Partes
              Review of U.S. Patent No. 10,268,608.

            − It is anticipated that the Board will issue its decision whether to institute
              proceedings by December 14, 2023.


III.   U.S. PATENT NO. 10,489,314 (PTAB CASE NOS. IPR2022-00744 AND IPR2022-
       00745) (FINAL WRITTEN DECISIONS ISSUED)

            − On March 30, 2022, Defendants filed two Petitions for Inter Partes Review of
              U.S. Patent No. 10,489,314.

            − On November 1, 2022, the Board granted the Petitions and trial was instituted.


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           − On February 7, 2023, Plaintiff submitted its Patent Owner’s Response.

           − On May 5, 2023, Defendants submitted their Reply to Patent Owner’s Response.

           − On June 16, 2023, Plaintiff submitted its Sur-Reply to Defendants Reply to Patent
             Owner’s Response.

           − On August 15, 2023, Oral Argument for the proceedings was held.

           − On October 30, 2023, the Board issued two Final Written Decisions determining
             no challenged claims unpatentable in either of the IPR proceedings.

           − Micron anticipates that it will file a notice of appeal of the IPR results within the
             63-day time period set forth by 37 C.F.R. 90.3.

       Further, as a courtesy to the Court, the parties hereby submit status updates regarding the

IPR proceeding challenging the patent that Netlist is asserting against Micron in the Western

District of Texas in the above captioned cases:

IV.    U.S. PATENT NO. 8,301,833 (PTAB CASE NO. IPR2022-00418)
       (FINAL WRITTEN DECISION ISSUED)

           − On January 14, 2022, Defendants filed a Petition for Inter Partes Review of U.S.
             Patent No. 8,301,833.

           − On September 1, 2022, the Board granted the Petition and trial was instituted.

           − On November 25, 2023, Plaintiff submitted its Patent Owner’s Response.

           − On February 17, 2023, Defendants submitted their Reply to Patent Owner’s
             Response.

           − On March 31, 2023, Plaintiff submitted its Sur-Reply to Defendants Reply to
             Patent Owner’s Response.

           − On June 7, 2023, an Oral Argument for the proceeding was held.

           − On August 28, 2023, the Board issued its Final Written Decision finding challenged
               claims 1, 3-17, and 19-30 invalid.




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Dated: November 6, 2023                         Respectfully Submitted,

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                                 Micron Semiconductor Products,
                                 Inc., and Micron Technology Texas,
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                               CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic

services are being served with a copy of this document via the Court’s CM/ECF system per

Local Rule CV-5(a) on this the 6th day of November, 2023.



                                            /s/ Ryan A. Hargrave
